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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

Robert (Bob) Formby, on behalf of himself and all others

similarlv situated
(b) County of Residence of First Listed Plaintiff Jefferson
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Gordon Ball, Gordon Ball, LLC, 3728 West End Avenue

Nashville, TN 37205; 865-525-7028

DEFENDANTS

NOTE:
THE TRACT

Attorneys (/f Known)

 

County of Residence of First Listed Defendant

Deloitte & Touche, LLP and Deloitte, LLP

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

| 1 U.S. Government
Plaintiff

CE] 2 U.S. Government
Defendant

[_]3 Federal Question
(U.S. Government Not a Party)

[x] 4 Diversity
(Indicate Citizenship of Parties in Item Ill)

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State C] 1 | 1 Incorporated or Principal Place | 4 4
of Business In This State
Citizen of Another State [x]2  [_] 2. Incorporated and Principal Place []5 [4s
of Business In Another State
Citizen or Subject of a (13 [] 3. Foreign Nation []e« [Je

Foreign Country

Click here for: Nature of S

 

uit Code Descriptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 1690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability | 367 Health Care/ 400 State Reapportionment
LE] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability ia 368 Asbestos Personal 835 Patent- Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability CJ 840 Trademark Corrupt Organizations
C 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR [__] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[_] 190 Other Contract Product Liability [__] 380 Other Personal | 1720 Labor/Management SOCIAL SECURITY Protection Act
— 195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) x] 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI | 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 790 Other Labor Litigation [_] 865 RSI (405(g)) |_| 891 Agricultural Acts
| _]210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement |] 893 Environmental Matters
[ | 220 Foreclosure 441 Voting |] 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment Hl 510 Motions to Vacate [| 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations T | 530 General _] 871 IRS—Third Party -| 899 Administrative Procedure
J 290 All Other Real Property 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration i 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)

1 Original
Ei Proceeding

VI. CAUSE OF ACTION

ima Removed from
State Court

3 Remanded from
Appellate Court

28 USC Section 1331
Brief description of cause:

 

4 Reinstated or 5 Transferred from
O O Another District

(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

Transfer

Securities action by virtue of Deloitte misleading the public concerning Southern Company's SEC reportings

6 Multidistrict
Litigation -

8 Multidistrict
O Litigation -
Direct File

 

 

 

 

VII. REQUESTED IN [x] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $6.2 billion JURY DEMAND: [x]Yes [_]No
VU. RELATED CASE(S)
IF ANY (See instructions): JUDGE _ DOCKET NUMBER
DATE ATURE 5 ATT YY: RECORD
02/17/22 a DOT ——

 

FOR OFFICE USE ONLY
RECEIPT #

AMOUNT

SI
a7
APPLYING IFP

JUDGE

MAG. JUDGE
